            Case 2:11-cr-00190-KJM Document 33 Filed 08/24/11 Page 1 of 2


1
2
3    DINA L. SANTOS, Bar #204200
     A Professional Law Corporation
4    428 J Street, 3rd Floor
     Sacramento, California 95814
5    Telephone: (916) 447-0160
6
7    Attorney for Defendant
     TIFFANY BROWN
8
9                        IN THE UNITED STATES DISTRICT COURT
10                     FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12
13   UNITED STATES OF AMERICA,       )      No. 2:11-cr-00190 MCE
                                     )
14                  Plaintiff,       )
                                     )      STIPULATION AND ORDER VACATING
15        v.                         )      DATE, CONTINUING CASE, AND
                                     )      EXCLUDING TIME
16   NICHOLAS RAMIREZ                )
     TIFFANY BROWN,                  )
17                  Defendants.      )      Date        October 27, 2011
                                     )      Time:       9:00 a.m.
18   _______________________________ )      Judge:      Hon. England
19
20         IT IS HEREBY STIPULATED by and between Assistant United States
21   Attorney Jason Hitt, Counsel for Plaintiff, and Attorney Dina L.
22   Santos, Counsel for Defendant Tiffany Brown; Attorney Michael Bigelow,
23   Counsel for Nicholas, that the status conference scheduled for August
24   25, 2011, be vacated and the matter be continued to this Court's
25   criminal calendar on October 27,2011,at 9:00 a.m. for further status.
26   ///
27   ///
28   ///
           Case 2:11-cr-00190-KJM Document 33 Filed 08/24/11 Page 2 of 2


1         This continuance is requested by the defense in order to permit
2    counsel to continue in negotiations with the prosecution in attempt to
3    reach a resolution, meet with the clients to discuss various
4    resolutions, and to review continue the defense investigation.
5         IT IS FURTHER STIPULATED that time for trial under the Speedy
6    Trial Act, 18 U.S.C. § 3161 et. seq. be tolled pursuant to §
7    3161(h)(7)(A) & (B)(iv), Local code T-4 (time to prepare), and that the
8    ends of justice served in granting the continuance and allowing the
9    defendant further time to prepare outweigh the best interests of the
10   public and the defendant in a speedy trial.
11        The Court is advised that all counsel have conferred about this
12   request, that they have agreed to the October 27, 2011 date, and that
13   all counsel have authorized Ms. Santos to sign this stipulation on
14   their behalf.
15        IT IS SO STIPULATED.
16   Dated: Aug. 22, 2011                    /S/ Dina L. Santos
                                            DINA L. SANTOS
17                                          Attorney for
                                            Tiffany Brown
18
     Dated: Aug 22, 2011                     /S/ Michael Bigelow
19                                          MICHAEL BIGELOW
                                            Attorney for
20   Dated: Aug. 22, 2011                    /S/ Jason Hitt
                                            JASON HITT
21                                          Assistant United States Attorney
                                            Attorney for Plaintiff
22
                                       O R D E R
23
          IT IS SO ORDERED.
24
     Dated: August 24, 2011
25
26                                        _____________________________
                                          MORRISON C. ENGLAND, JR.
27
                                          UNITED STATES DISTRICT JUDGE
28


                                            2
